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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                               AUGUSTA DIVISION




UNITED STATES OF AMERICA


       V.                                             OR 121-051


DAVID BRYSON     MURPHY




                                     ORDER




       Presently      before   the    Court     is    a    letter     motion     titled

"Clarification      of    Sentencing" filed          by   Defendant    David     Bryson

Murphy.      On February 8, 2022, Defendant was sentenced to serve 54

months imprisonment upon his guilty plea to possession of a firearm

by a convicted felon, a violation of 18 U.S.C. § 922(g)(1).                        The

Court expressly provided that this federal sentence shall be served

"concurrently with any term imposed in the related McDuffie County

case (2021WR1777)." (See Judgment & Commitment Order, Doc. 30, at

2.) There is no mention of Defendant's arrests and any convictions

for unrelated state probation violations in McDuffie County Case

Nos. 18CR0230 and 19CR0244.


       Through     his    letter     motion.     Defendant      seeks      an    Order

expressing that his federal sentence should also run concurrent

with   any    state      sentence    imposed,    presumably         with   his   state

probation violation sentences.           This Court, however, does not have

the authority to modify a sentence once it has been imposed with
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three exceptions,    none    of which   apply   here.    See    18   U.S.C. §

3582(c)(2).     Accordingly, the Court is without authority to even

consider    Defendant's     motion.     Moreover,    once   Defendant      has

completed his state sentence, he will be turned over to the custody

of the Bureau of Prisons, which holds a detainer upon Defendant

for this purpose, to serve his federal sentence.               And while the

Bureau of Prisons has the power to designate a state facility nunc

pro tune as the place of federal confinement so that a defendant

may gain credit against a federal sentence for the time served in

the state facility, this is a decision within the discretion of

the Bureau of Prisons and not this Court.


        Upon the foregoing. Defendant's ''Clarification of Sentence"

asking for a sentence modification (doc. 34) is DENIED.              The Clerk

is directed to TERMINATE the Government's motion to dismiss (doc.

no. 37).

     ORDER ENTERED at Augusta, Georgia, this                ^day of March,

2023.




                                        J. RAl^DA    HALL, miEF JUDGE
                                        UNITED S    [•ATES DISTRICT COURT
                                         LOUTHERN   DISTRICT OF GEORGIA
